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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - -x
 UNITED STATES OF AMERICA

                - v. -                                       INDICTMENT

 ZACHARY CLARK,
 a/k/a "Umar Kabir,"
 a/k/a "Umar Shishani,"
 a/k/a "Abu Talha,"

                              Defendant.
                              - - - - - - - -x

                           COUNT ONE
(Provision of Material Support to a Designated Foreign Terrorist
                         Organization)

     The Grand Jury charges:

     1.·      From at least in or about April 2019, up to and including

in or about November 2019,           in the Southern District of New York

and elsewhere,          ZACHARY   CLARK,    a/k/a    "Umar     Kabir,"    a/k/a   "Umar

Shishani,"      a/k/a      "Abu   Talha,"     the     defendant,      knowingly     and

intentionally provided and attempted to provide "material support

or resources," as that term is defined in Title 18, United States

Code,, Section 2339A (b),         to a foreign terrorist organization,               to

wit, the Islamic State of Iraq and al-Sham ("ISIS"), which at all

relevant times has been designated by the Secretary of State as a

foreign terrorist organization,              pursuant to Section 219 of the

Immigration       and     Nationality      Act      ("INA"),    and      is   currently

designated as such as of the date of the filing of this Indictment,
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including, among other things, training, services, and personnel,

knowing that ISIS was a designated foreign terrorist organization

(as defined in Title 18, United States Code, Section 2339B(g) (6)),

that ISIS engages and has engaged in terrorist activity (as defined

in Section 212 (a) (3) (B) of the INA), and that ISIS engages and has

engaged       in   terrorism     (as   defined   in   Section     140 (d) (2)      of   the

Foreign Relations Authorization Act, Fiscal Years 1988 and 1989).

         (Title 18, United States Code, Sections 2339B and 2.)

                             COUNT TWO
 (Distribution of Information Relating to Explosives, Destructive
             Devices, and Weapons of Mass Destruction)

        The Grand Jury further charges:

        2.      In or about 2019,       in the Southern District of New York

and elsewhere,         ZACHARY    CLARK,    a/k/a     "Umar    Kabir,"     a/k/a     "Umar

Shishani," a/k/a "Abu Talha," the defendant, knowingly taught and

demonstrated the making or use of an explosive,                       a     destructive

device, and a weapon of mass destruction, and distributed by any

means        information   pertaining      to,   in    whole     or   in     part,      the

manufacture and use of an explosive, destructive device, and weapon

of   mass        destruction,     with     the   intent       that    the     teaching,

demonstration, and information be used fo~, and in furtherance of,

activities that constitute Federal crimes                     of violence,      to wit,

CLARK distributed bomb-making instructions over the internet with



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the intent that the information be used for,                  and in furtherance

of, the use of a weapon of mass destruction, in violation of Title

18,   United States Code,        Section 2332a;         and bombing a place of

public use, in violation of Title 18, United States Code, Section

2332f.

         (Title 18, United States Code, Sections 842(p) and 2.)

                            FORFEITURE ALLEGATION

      3.      As a result of committing the offense alleged in Count

One of this Indictment,         ZACHARY CLARK, a/k/a "Umar Kabir," a/k/a

"Umar Shishani," a/k/a "Abu Talha," the defendant,                 shall forfeit

to the United States, pursuant to Title 18, United States Code,

Section 981 (a) (1) (G)     and Title 28,        United States Code,      Section

246l(c),      any   and   all   assets,       foreign   and   domestic,   of   the

defendant; any and all assets, foreign and domestic, affording the

defendant a source of influence over any entity or organization

engaged in planning or perpetrating said offense;                   any and all

assets,     foreign   and domestic,       acquired or maintained with the

intent and for the purpose of supporting, planning, conducting or

concealing said offense; any and all assets, foreign and domestic,

derived from, involved in, or used or intended to be used to commit

said offense, including but not limited to a sum of money in United

States currency representing the total amount of the defendant's



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assets.

                         Substitute Assets Provision

     4.      If any of the' above-described forfei table property,                 as

a result of any act or omission of the defendant:

             a.    cannot    be     located    upon   the     exercise    of      due

             diligence;

             b.    has been transferred or sold to, or deposited with,

             a third person;

             c.    has   been     placed   beyond   the    jurisdiction      of   the

             Court;

             d.    has been substantially diminished in value; or

             e.    has    been    commingled   with       other   property     which

             cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21, United

States Code,      Section    853(p)    and Title 28,        United States Code,

Section 2461(c),      to seek forfeiture of any other property of the

defendant up to the value of the above forfeitable property.

              (Title 18, United States Code, Section 981;
            Title 21, United States Code, Section 853; and
             Title 28, United States Code, Section 2461.)




FOREPERSON



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                 Form No. USA-33s-274          (Ed. 9-25-58)




                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


                     UNITED STATES OF AMERICA

                                       v.

                          ZACHARY CLARK,
                       a/k/a "Umar Kabir,"
                      a/k/a "Umar Shishani,"
                        a/k/a "Abu Talha,"

                                                      Defendant.


                               INDICTMENT

                                   20 Cr.

                  (18 U.S.C. §§ 2, 842 (p), 2339B)

                       GEOFFREY S. BERMAN
                      United States Attorney




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